Case 1:25-cv-00168-GBW            Document 98    Filed 04/15/25     Page 1 of 2 PageID #: 868




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF DELAWARE

 SPIRE GLOBAL, INC.,                            )
                     Plaintiff,                 )
                                                )   C.A. No. 25-cv-168-GBW
       v.                                       )
 KPLER HOLDING SA,                              )
                                                )
                     Defendant.                 )

                        MOTION FOR ADMISSION PRO HAC VICE

       Pursuant to Local Rule 83.5 and the attached certification, the undersigned counsel moves

for the admission pro hac vice of Janet A. Gochman of Simpson Thacher & Bartlett LLP, 425

Lexington Avenue, New York, New York 10017, to represent Plaintiff Spire Global, Inc., in the

above action.

                                                FAEGRE DRINKER
OF COUNSEL:                                     BIDDLE & REATH LLP

Jonathan K. Youngwood                            /s/ Oderah C. Nwaeze
Meredith Karp                                   Oderah C. Nwaeze (#5697)
Janet A. Gochman                                Angela Lam (#6431)
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BARTLETT LLP                                    oderah.nwaeze@faegredrinker.com
425 Lexington Avenue                            angela.lam@faegredrinker.com
New York, NY 10017
(212) 455-2000                                  Attorneys for Plaintiff

Dated: April 15, 2025

                                  ORDER GRANTING MOTION

       IT IS HEREBY ORDERED this _____ day of _______________, 2025, counsel’s Motion

for Admission Pro Hac Vice is GRANTED.



                                                The Honorable Gregory B. Williams, U.S.D.J.
Case 1:25-cv-00168-GBW            Document 98       Filed 04/15/25      Page 2 of 2 PageID #: 869




         CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

       Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this Court, am

admitted, practicing, and in good standing as a member of the bar of the State of New York and,

pursuant to Local Rule 83.6, submit to the disciplinary jurisdiction of this Court for any alleged

misconduct that occurs in the preparation or course of this action. I also certify that I am generally

familiar with this Court’s Local Rules. I also certify that the fee of $50.00 has been paid to the

Clerk of Court, or, if not paid previously, the fee payment will be submitted to the Clerk’s Office

upon the filing of this motion.


                                                       /s/ Janet A. Gochman
                                                      Janet A. Gochman
                                                      SIMPSON THACHER & BARTLETT LLP
                                                      425 Lexington Avenue
                                                      New York, NY 10017
                                                      (212) 455-2000
                                                      jgochman@stblaw.com

Dated: April 15, 2025
